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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                       IN THE UNITED STATES DISTRICT COURT                               January 26, 2022
                       FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

U.S. WELL SERVICES, LLC,       §
                               §
            PLAINTIFF,         §
     V.                        §
                               §                        Case No. 4:21-CV-3441
VOLTAGRID LLC, NATHAN OUGH, §
CERTARUS (USA) LTD., AND JARED §
OEHRING,                       §
                               §
            DEFENDANTS.        §
                               §

   PLAINTIFF U.S. WELL SERVICES, LLC AND DEFENDANT CERTARUS (USA)
                    LTD.’S AGREED MOTION TO STAY


       Plaintiff U.S. Well Services, LLC (“USWS”) and Defendant Certarus (USA) Ltd.

(“Certarus”) (collectively, “the Parties”) file this agreed motion to stay the claims between the

Parties in this case for 30 days. The Parties have reached an agreement in principle to settle this

matter. The requested stay will allow the Parties to finalize their agreement and move for dismissal

without taking up further judicial resources in the meantime.

       Accordingly, the Parties respectfully request the Court grant the stay requested herein.




IT IS SO ORDERED:

                 January 26
       Signed: _________________, 2022.


                                              __________________________________________
                                              HON. LEE ROSENTHAL
                                              UNITED STATES DISTRICT JUDGE




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Dated: January 21, 2022                  Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I certify that, on January 21, 2022, I served a copy of the foregoing document on the
following counsel of record via the Court’s CM/ECF system.

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